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Fill in this information to identify the case:

Debtor name        Varaluz, LLC

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF CALIFORNIA

Case number (if known)          24-13181
                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $27,080.03
          AUSPI Group LLC                                                    Contingent
          Attn: Managing Member or Bankruptcy Dept                           Unliquidated
          417 South Associate Rd., #102                                      Disputed
          Brea, CA 92821
                                                                            Basis for the claim: Freight Consulting Firm
          Date(s) debt was incurred 2023
          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $10,901.42
          MTS Logistics Inc.                                                 Contingent
          Attn: Managing Member or Bankruptcy Dept                           Unliquidated
          5 West 37th Street, Ste. 300                                       Disputed
          New York, NY 10018
                                                                            Basis for the claim: Freight Company
          Date(s) debt was incurred 2024
          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                   On which line in Part1 or Part 2 is the             Last 4 digits of
                                                                                                     related creditor (if any) listed?                   account number, if
                                                                                                                                                         any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
5a. Total claims from Part 1                                                                            5a.        $                              0.00
5b. Total claims from Part 2                                                                            5b.    +   $                         37,981.45

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                 5c.        $                              37,981.45



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